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                                                      for the District of New Jersey


                   United States of America
                                                                                           ORDER SETTING
                                v.                                                      CONDITIONS OF RELEASE

                  GEORGE WIGGINS                                                       Case Number: 22-CR-522-3 (MCA)

                           Defendant


    IT IS ORDERED on this 9th day of AUGUST, 2022 that the release of the defendant is subject to the following conditions:
        (1) The defendant must not violate any federal, state or local law while on release.
        (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
            42 U.S.C. § 14135a.
        (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
            any change in address and/or telephone number.
        (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

                                                              Release on Bond

Bail be fixed at $100,000 and the defendant shall be released upon:

       (X) Executing an unsecured appearance bond ( ) with co-signor(s)                                                    ;
       ( ) Executing a secured appearance bond ( ) with co-signor(s)                                                         , and
           ( ) depositing in cash in the registry of the Court  % of the bail fixed; and/or ( ) execute an agreement to
           forfeit designated property located at                                                            . Local Criminal Rule
           46.1(d)(3) waived/not waived by the Court.
       ( ) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu
           thereof;

                                                     Additional Conditions of Release

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary
to reasonably assure the appearance of the person as required and the safety of any other person and the community.
It is further ordered that the release of the defendant is subject to the condition(s) listed below:

IT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
      (X) Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law enforcement
           personnel, including but not limited to, any arrest, questioning or traffic stop.
      ( ) The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper with any
           witness, victim, or informant; not retaliate against any witness, victim or informant in this case.
      ( ) The defendant shall be released into the third party custody of

              who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to
              assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately
              in the event the defendant violates any conditions of release or disappears.

                Custodian Signature:                                          Date:


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 (X) The defendant’s travel is restricted to (X) New Jersey for Court purposes (X) Other New York
                                                                        (X) unless approved by Pretrial Services (PTS).
 (X) Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
 (X) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with substance
       abuse testing procedures/equipment.
 ( ) Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any home in
       which the defendant resides shall be removed by _______________ and verification provided to PTS. This
       includes Purchaser’s ID and Permits.
 ( ) Mental health testing/treatment as directed by PTS.
 ( ) Abstain from the excessive use of alcohol.
 (X) Maintain current residence or a residence approved by PTS.
 (X) Maintain or actively seek employment.
 ( ) No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
 ( ) Have no contact with the following individuals:
 ( ) Defendant is to participate in one of the following home confinement program components and abide by all the
       requirements of the program which ( ) will or ( ) will not include electronic monitoring or other location
       verification system.
        ( ) (i) Curfew. You are restricted to your residence every day ( ) from                        to         , or ( ) as
                     directed by the pretrial services office or supervising officer; or
        ( ) (ii) Home Detention. You are restricted to your residence at all times except for the following:
                     education; religious services; medical, substance abuse, or mental health treatment; attorney
                     visits; court appearances; court-ordered obligations; or other activities pre-approved by the
                     pretrial services office or supervising officer. Additionally, employment ( ) is permitted ( ) is
                     not permitted.
        ( ) (iii) Home Incarceration. You are restricted to your residence under 24 hour lock-down except
                     for medical necessities and court appearances, or other activities specifically approved by the
                     court.
        ( ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home
                     incarceration restrictions. However, you must comply with the location or travel
                     restrictions as imposed by the court. Note: Stand Alone Monitoring should be used in
                     conjunction with global positioning system (GPS) technology.
        ( ) Pay all or part of the cost of location monitoring based upon your ability to pay as determined
             by the pretrial services or supervising officer.
 ( ) Defendant is subject to the following computer/internet and network restrictions which may include manual
     inspection, and/or the installation of computer monitoring software, as deemed appropriate by Pretrial
     Services. The defendant consents to Pretrial Services’ use of electronic detection devices to evaluate
      the defendant’s access to wi-fi connections.
            () (i) No Computers - defendant is prohibited from possession and/or use of computers or
                       connected devices.
            () (ii) Computer - No Internet Access: defendant is permitted use of computers or
                       connected devices, but is not permitted access to the Internet (World Wide Web, FTP
                       Sites, IRC Servers, Instant Messaging, etc);
            () (iii) Computer With Internet Access: defendant is permitted use of computers or connected
                       devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC
                      Servers, Instant Messaging, etc.) for legitimate and necessary purposes pre-approved by
                       Pretrial Services at [ ] home [ ] for employment purposes.
            () (iv) Consent of Other Residents -by consent of other residents in the home, any computers in
                       the home utilized by other residents shall be approved by Pretrial Services, password
                       protected by a third party custodian approved by Pretrial Services, and subject to inspection
                       for compliance by Pretrial Services. Home computer networks are subject to inspection for
                       compliance by Pretrial Services.
(X) Other: Defendant shall not possess any identification, credit cards, or bank accounts not in the
            Defendant’s name.
(X) Other: Defendant shall not directly or indirectly open any new lines of credit.
(X) Other: Due to the COVID-19 pandemic, the Defendant has not yet been processed by the United States Marshals
           Service (USMS) for the instant arrest. The Defendant shall report to the USMS in Newark, NJ for processing
            on August 23, 2022 at 10:30 a.m.                                                                                  Page 2 of 3
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                                       ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
                             Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court
and could result in imprisonment, a fine, or both.
             While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than
ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This
sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
             It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate
or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
             If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
                 (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you
                       will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
                 (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will
                       be fined not more than $250,000 or imprisoned for not more than five years, or both;
                 (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
                 (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
                 A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you
receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                Acknowledgment of the Defendant

                I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey
all conditions of release, to appear as directed, and surrender to serve any sentenc e imposed. I am aware of the penalties and
sanctions set forth above.
                                                                                /s/ George Wiggins
                                                                                 Defendant’s Signature


                                                                                     City and State
                                         Directions to the United States Marshal

   (X) The defendant is ORDERED released after processing.
   ( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or
        judge that the defendant has posted bond and/or complied with all other conditions for release. If still in
        custody, the defendant must be produced before the appropriate judge at the time and place specified.



                                                                    ______________________________________
  Date: 8/9/22                                                                 Judicial Officer’s Signature

                                                                        Honorable Jessica S. Allen, U.S.M.J.
                                                                              Printed name and title

  (REV. 4/09)                                                                                            PAGE 3 OF 3
